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				RYDER v. STATE2021 OK CR 25Case Number: PCD-2020-613Decided: 08/31/2021JAMES CHANDLER RYDER, Petitioner v. THE STATE OF OKLAHOMA, Respondent
Cite as: 2021 OK CR 25, __  __

				

ORDER VACATING PREVIOUS ORDER AND JUDGMENTGRANTING POST-CONVICTION RELIEFAND WITHDRAWING OPINION FROM PUBLICATION
¶1 Based on the Court's decision in State ex rel. Matloff v. Wallace, 2021 OK CR 21, ___ P.3d ___, the previous order and judgment granting post-conviction relief in this case are hereby VACATED and SET ASIDE. The issuance of the mandate in this case was previously stayed by this Court on May 28, 2021, and no mandate has issued. The opinion in Ryder v. State, 2021 OK CR 11, 489 P.3d 528, is WITHDRAWN. The Court will issue a separate order addressing Petitioner's claims for post-conviction relief at a later time.
¶2 IT IS SO ORDERED.
¶3 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 31st day of August, 2021.
/S/SCOTT ROWLAND, Presiding Judge 
/S/ROBERT L. HUDSON, Vice Presiding Judge
/S/GARY L. LUMPKIN, Judge
/S/DAVID B. LEWIS, Judge
ATTEST:John D. HaddenClerk




	Citationizer© Summary of Documents Citing This Document
	
	
		
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
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	Oklahoma Court of Criminal Appeals Cases
&nbsp;CiteNameLevel

&nbsp;2021 OK CR 11, WITHDRAWNDiscussed
&nbsp;2021 OK CR 21, STATE ex rel. MATLOFF v. WALLACECited


	
	








				
					
					
				

		
		

	
		
			
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